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               DECLARATION OF JOSUE DE JESUS TORCATI SEBRIAN

I, Josue de Jesus Torcati Sebrian, hereby declare under penalty of perjury pursuant to 28 U.S.C. §
1746 that the following is true and correct.

   1. I make this declaration based on my own personal knowledge and if called to testify I
      could and would do so competently and truthfully to these matters.

   2. My name is Josue de Jesus Torcati Sebrian. I am 37 years old and from Venezuela. I came
      to the United States in February 2023 to seek asylum. I am seeking asylum because my
      political views are not accepted in Venezuela. While I was there, I was arrested and
      tortured because of my political views. I have been in immigration detention since May
      2024.

   3. I submitted my Temporary Protected Status application and it is still pending. I had a
      immigration court date in July 2023 and one scheduled for January 2026. I was arrested
      on April 21, 2024 due to a verbal discussion with my wife and the charges were later
      dismissed. After my arrest, I was transferred to ICE custody and held at T. Don Hutto
      Detention Center. I received notice that my asylum was denied and a deportation order on
      August 6, 2024.

   4. I heard that the U.S. government has started transferring Venezuelans with final orders to
      the military base at Guantánamo Bay, Cuba. I also heard the U.S. government is targeting
      people they think are criminals or gang members, even if they have no proof.

   5. I was asked by ICE officers to sign off on deportation to Mexico. I refused to sign
      because my TPS application is still in process. ICE officers also came to my detention
      unit twice within the last month or so, urging us to sign off on deportation to Mexico, or
      risk being sent to Guantánamo. Many people signed the paper for fear of being
      transferred to Guantánamo and were subsequently removed. The ICE officers will not
      provide copies of the papers they are asking people to sign. I once asked them for a copy
      and they told me I did not need one since I did not want to sign, but others who have
      signed have also asked for a copy and were denied one.

   6. I am afraid of being transferred to Guantánamo. I believe that I am at risk of being
      transferred because I have a final order of deportation and was recently denied release
      upon my 180-day custody review, and because I am from Venezuela. I also believe that I
      am going to be transferred to Guantánamo because an ICE officer told me that I am a
      danger to society because of the charges against me, which were eventually dismissed.

   7. I do not want to be transferred to or detained at Guantánamo. I am afraid of what will
      happen to me when I get there. I heard that there is no ability to contact lawyers or family
      from Guantánamo. I want access to an attorney to help me get out of detention and figure
      out what options I have in my immigration case.

   8. Everything in this declaration is true and correct to the best of my knowledge and
      recollection. This declaration was read back to me in Spanish, a language in which I am
      fluent.
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Executed on the 26 of February, 2025 in Taylor, Texas.


______ ____________________
Josue De Jesus Torcati Sebrian
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                 ATTESTATION AND CERTIFICATE OF TRANSLATION

       I, Marisol Dominguez-Ruiz, certify that I am fluent in both English and Spanish. On

February 22, 2025, I personally spoke with Josue de Jesus Torcati Sebrian and read the foregoing

declaration to him, translated into Spanish faithfully and accurately, over the phone. Mr. Torcati

Sebrian affirmed that he understood my translation and that the information in the above

declaration is true and accurate.

       I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true

and correct.




Marisol Dominguez-Ruiz
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